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UNITED STATES DISTRICT COURT                                                  ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                                 DOC #: _________________
 ----------------------------------------------------------------------- X    DATE FILED: 9/22/2022
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 LENNY MOLINA,                                                           :
                                                                         :
                                                 Plaintiff,              :    1:20-cv-10821-GHW
                                                                         :
                              -against-                                  :         ORDER
                                                                         :
 HORNBLOWER GROUP, INC., HORNBLOWER                                      :
 NEW YORK, LLC, and HORNBLOWER CRUISES :
 AND EVENTS, LLC,                                                        :
                                                                         :
                                                 Defendants.             :
                                                                         :
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GREGORY H. WOODS, District Judge:

         For the reasons stated on the record during the hearing held on September 22, 2022, the

Defendants’ Motion for Summary Judgment, Dkt. No. 40, is denied. Defendant’s Motion to

Preclude Expert Testimony and/or Evidence Pursuant to FRCP 26 and 37, Dkt. No. 40, is granted.

         The Clerk of Court is respectfully directed to terminate the motion pending at Dkt. No. 40.


         SO ORDERED.

 Dated: September 22, 2022                                    _____________________________________
 New York, New York                                                    GREGORY H. WOODS
                                                                      United States District Judge
